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NON-PRECEDENTIAL DECISION – SEE SUPERIOR COURT I.O.P. 65.37

COMMONWEALTH OF PENNSYLVANIA            :     IN THE SUPERIOR COURT OF
                                        :           PENNSYLVANIA
                  v.                    :
                                        :
FREDERICK DEMON DEAN,                   :         No. 1402 WDA 2015
                                        :
                       Appellant        :


         Appeal from the Judgment of Sentence, August 17, 2015,
               in the Court of Common Pleas of Erie County
            Criminal Division at No. CP-25-CR-0003379-2014


BEFORE: FORD ELLIOTT, P.J.E., LAZARUS AND JENKINS, JJ.


MEMORANDUM BY FORD ELLIOTT, P.J.E.:            FILED NOVEMBER 17, 2016

     Frederick Demon Dean appeals from the judgment of sentence entered

in the Court of Common Pleas of Erie County on August 17, 2015, after a

jury found him guilty of one count each of persons not to possess firearms,

firearms not to be carried without a license, possession of a controlled

substance,   possession   of   drug   paraphernalia,   resisting   arrest,   and

possessing instruments of crime.1 The trial court sentenced appellant to an

aggregate term of imprisonment of 81 to 168 months. We affirm.

     The record reflects that shortly before 9:00 p.m. on August 26, 2014,

SWAT officers on a vehicle patrol detail observed appellant walking



1
   18 Pa.C.S.A. § 6105(a)(1), 18 Pa.C.S.A. § 6106(a)(1), 35 P.S.
§ 780-113(a)(16), 35 P.S. § 780-113(a)(32), 18 Pa.C.S.A. § 5104, and
18 Pa.C.S.A. § 907(a), respectively.
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northbound on a sidewalk in the 1100 block of Wayne Street in Erie. (Notes

of testimony, 6/16/15 at 31-34.) The sidewalk runs alongside the parking

lot of TJ’s bar.    (Id.)   The officers observed appellant walking toward a

house located next to that parking lot. (Id.) Immediately after the patrol

vehicle passed appellant, officers heard a gunshot coming from the direction

where they had just observed appellant. (Id. at 35.) No other individuals

were in the area. (Id. at 35-36.) The officers stopped the cruiser, exited,

and began looking for appellant. (Id. at 36.) The officers then found a gun

in the backyard of the house that they observed appellant walking toward.

(Id.)    A grass strip measuring approximately 10 to 15 feet separates the

parking lot of TJ’s bar from that particular house. (Id. at 34.)

        The officers then went into TJ’s bar to look for appellant.        (Id. at

39-40). The bartender told the officers that appellant was in the back of the

kitchen hiding in a closet. (Id. at 41.) The officers found appellant sitting in

a utility closet.   (Id. at 43.)    The utility closet contained a sink.     (Id.)

Appellant was completely wet. (Id.) Officers instructed appellant to show

them his hands.      (Id. at 43.)    Appellant refused and began kicking the

officers. (Id.) Appellant was tased and then taken into custody. (Id. at

43-44.)     During this incident, appellant, without provocation, stated, “I

wasn’t shooting at you guys. If this goes away[,] I’ll give you whatever you

want. I know several drug dealers from Detroit.” (Id. at 45.)




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      Surveillance footage corroborated law enforcement’s version of events.

(Notes of testimony, 6/17/15 at, 33-28; 60-74.)          It also revealed that

appellant was wearing a hat when police officers initially observed him prior

to the shot being fired. When he entered TJ’s bar, however, appellant was

no longer wearing the hat.       Surveillance footage established that prior to

entering TJ’s bar, appellant walked into the area where the gun was found

and made a “throwing motion” over a 6-foot stockade fence.              Officers

subsequently recovered the hat on the ground on the other side of the

stockade fence from where officers observed appellant making the “throwing

motion.” A baggie of heroin was tucked inside the hat. (Id.)

      Appellant raises the following issue for our review:

             [WHETHER] THE EVIDENCE IN THIS CASE WAS
             INSUFFICIENT  TO   PROVE   THE  CRIMES   OF
             POSSESSION OF AN INSTRUMENT OF CRIME AND
             FIREARMS NOT TO BE CARRIED WITHOUT A
             LICENSE AS THE EVIDENCE FAILED TO ESTABLISH
             THAT [APPELLANT] WAS IN POSSESSION OF THE
             HANDGUN THAT WAS ENTERED AS EVIDENCE IN
             THIS CASE[?]

Appellant’s brief at 2.

      Appellant’s brief contains no legal argument on this issue.      Instead,

appellant sets forth three and a half pages of “facts” with citations to the

trial transcript.   Following these “facts,” appellant baldly asserts, “It could

have been placed there by anyone. Thus, the decision of the jury on all of

the firearms counts should be vacated.” (Id. at 9.)




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      Appellant waives his issue on appeal for failure to develop a legal

argument.      See Commonwealth v. Johnson, 985 A.2d 915, 924 (Pa.

2009) (reiterating that “where an appellate brief fails to provide any

discussion of a claim with citation to relevant authority or fails to develop the

issue in any other meaningful fashion capable of review, that claim is

waived”); citing to Commonwealth v. Walter, 966 A.2d 560, 566 (Pa.

2009); Commonwealth v. Steele, 961 A.2d 786, 799 n.12 (Pa. 2008);

Commonwealth v. Puksar, 951 A.2d 267, 293-294 (Pa. 2008). See also

Pa.R.A.P. 2119(a) (requiring that each point treated in an argument must be

“followed by such discussion and citation of authorities as are deemed

pertinent”).   Finally, our supreme court has long held that it is not the

court’s   obligation    to    formulate    an   appellant’s   arguments.     See

Commonwealth           v.    Wright,      961   A.2d   119,   135   (Pa.   2008);

Commonwealth v. Thomas, 717 A.2d 468, 482-483 (Pa. 1998).

      Judgment of sentence affirmed.



      Lazarus, J. joins this Memorandum.

      Jenkins, J. files a Concurring Statement in which Lazarus, J. also joins.




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Judgment Entered.




Joseph D. Seletyn, Esq.
Prothonotary

Date: 11/17/2016




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